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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 UNITED STATES OF AMERICA

                                                      NOTICE OF
          -against-
                                                      MOTION TO DISMISS

                                                      23 Cr. 516 (KAM)
 CHRISTOPHER TERRANOVA,

                              Defendant.


       PLEASE TAKE NOTICE that upon the annexed June 28, 2024

 Declaration of Vinoo P. Varghese, and the accompanying Memorandum of

 Law, the undersigned will move this Court at Courtroom 6C South of the

 United States Courthouse, 225 Cadman Plaza East, Brooklyn, New York, NY

 11201 on a date suitable to the Court for an Order pursuant to Rule 12(b)(2)

 of the Federal Rules of Criminal Procedure dismissing Counts One through

 Three of the indictment for lack of federal jurisdiction in that, in the absence

 of an adequate interstate nexus, the charged acts (mere attempts to violate) are

 beyond Congress’ purview to police pursuant to the authority invested in that

 body by Article I, Section 8 of the U.S. Constitution, that document’s
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 Commerce Clause, and for such other, further and different relief as this Court

 may deem just, equitable and proper.

 Dated:       June 28, 2024
              New York, NY

                                               Respectfully submitted,

                                               Varghese & Associates, P.C.
                                                     /s/
                                        By:    Vinoo P. Varghese
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                                               Mr. Christopher Terranova




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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 UNITED STATES OF AMERICA

                                                      VINOO P. VARGHESE
             -against-
                                                      DECLARATION

                                                      23 Cr. 516 (KAM)
 CHRISTOPHER TERRANOVA,

                                Defendant.


 VINOO P. VARGHESE, an attorney admitted to practice before this Court,

 declares pursuant to 28 U.S.C. §1746 under penalty of perjury that the

 foregoing is true and correct:

 1.        I am counsel to the defendant, Mr. Christopher Terranova, in the above

 captioned matter.

 2.        I make this Declaration in support of Mr. Terranova’s motion for an

 Order pursuant to Rule 12(b)(2) of the Federal Rules of Criminal Procedure

 dismissing Counts One through Three of the indictment for lack of federal

 jurisdiction in that 18 U.S.C. § 2251 (e), which forbids a mere attempt to

 procure a picture of a minor engaged in sexual activity, is beyond Congress’

 purview to police pursuant to the U.S. Constitution’s Commerce Clause (Art.

 I, § 8)




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 3.    Mr. Terranova moves to dismiss because such attempts, even

 considered in the aggregate, have no effect on interstate commerce, and in the

 absence of an adequate interstate nexus—are unconstitutional.

 4.    Mr. Terranova moves for such other, further and different relief as this

 Court may deem just, equitable and proper.

 5.    On December 13, 2023, the government charged Christopher

 Terranova in a four-count indictment.

 6.    Counts One through Three charge that, in three overlapping time

 periods spanning from February 2022 to May 2023, he attempted to persuade

 three separate minors “to engage in sexually explicit conduct for the purpose

 of producing one or more visual depictions of such conduct, knowing and

 having reason to know that such visual depictions would be transported and

 transmitted using one or more means and facilities of interstate commerce,”

 in violation of 18 U.S.C. §§ 2251(a),(e), and 2. Ind. No. 23 Cr. 516, at ¶ 1;

 Counts 1-3.

 Executed:     June 28, 2024
               New York, NY

                                                   /s/
                                              Vinoo P. Varghese




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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 UNITED STATES OF AMERICA
                                                      MR. TERRANOVA’S
                                                      MEMORANDUM OF
          -against-                                   LAW IN SUPPORT OF
                                                      HIS MOTION TO
                                                      DISMISS
 CHRISTOPHER TERRANOVA,
                                                      23 Cr. 516 (KAM)
                                Defendant.


                                   ARGUMENT

                                      POINT I

 BECAUSE MERE ATTEMPTS TO PROCURE PRURIENT PICTURES,
 EVEN CONSIDERED CUMULATIVELY, HAVE NO EFFECT ON
 INTERSTATE COMMERCE, 18 U.S.C. § 2251(e) EXCEEDS CONGRESS’
 COMMERCE CLAUSE POWERS

       18 U.S.C. Section 2251(a), criminalizes the sexual exploitation of

 minors through the creation of child pornography if either the materials used

 to create the pornography or the final product itself entered the flow of

 interstate commerce. See e.g., United States v. Morales-De Jesús, 372 F.3d

 6, 8, 17 (1st Cir. 2004) (finding child pornography produced for personal use

 to substantially affect interstate commerce and rejecting facial challenge to §

 2251(a)). As pertinent here, Section 2251(e) makes it unlawful for any person

 to attempt to

                 persuade[ ], induce[ ], entice[ ], or coerce[ ] any
                 minor to engage in ... any sexually explicit conduct

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              for the purpose of producing any visual depiction of
              such conduct ... if such person knows or has reason
              to know that such visual depiction will be
              transported or transmitted using any means or
              facility of interstate or foreign commerce or in or
              affecting interstate or foreign commerce or mailed,
              if that visual depiction was produced or transmitted
              using materials that have been mailed, shipped, or
              transported in or affecting interstate or foreign
              commerce by any means, including by computer, or
              if such visual depiction has actually been
              transported or transmitted using any means or
              facility of interstate or foreign commerce or in or
              affecting interstate or foreign commerce or mailed.

 18 U.S.C. § 2251(a)(emphases added).

       Thus, as enacted, Section 2251(a)’s interstate-nexus element contains

 three independent jurisdictional clauses. See United States v. Moran, 57 F.4th

 977, 982 n.5 (11th Cir. 2023) (citing United States v. Smith, 459 F.3d 1276,

 1289 (11th Cir. 2006)). While the statute speaks in the disjunctive with

 respect to its jurisdictional element, the indictment charges Mr. Terranova in

 the conjunctive. See Ind 1:23-cr-00516-KAM (ECF 1) at 1 (December 13,

 2023).

       The Government has yet to disclose which particular theory of

 prosecution it intends to commit to. Without evidence that Mr. Terranova’s

 attempt(s) produced any visual depictions, or that any visual depictions were

 actually transmitted through a facility of interstate commerce, it would appear

 by default that it is on the basis of the first jurisdictional prong that Mr.

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 Terranova is being prosecuted. Subsection (e) of the statute provides for the

 punishment of “[a]ny individual who ... attempts ... to violate” § 2251(a). 18

 U.S.C. § 2251(e). See Moran, 57 F.4th at 982 n.5 (of Section 2251(a)’s three

 independently sufficient interstate-nexus clauses, government relied only on

 the first in 18 U.S.C. § 2251(e) prosecution).

       Moran challenged the sufficiency of the evidence to satisfy § 2251(a)’s

 interstate-nexus element.    See Moran, 57 F.4th at 982.       No court has

 considered a Commerce Clause challenge to § 2251(e).

       In United States v. Holston, 343 F.3d 83, 85 (2d Cir. 2003), where the

 Government relied solely on the second jurisdictional prong, the Second

 Circuit upheld § 2251(a) against a challenge that it “was an unconstitutional

 exercise of Congress’ authority under the Commerce Clause.” 343 F.3d at 84.

 Given the Supreme Court’s decisions in United States v. Lopez, 514 U.S. 549

 (1995) and United States v. Morrison, 529 U.S. 598 (2000) reaffirming that

 Congress’ Commerce Clause authority was not unlimited, Mr. Holston

 contended that Congress’ attempt to reach personal use child pornography that

 never crossed state lines through § 2251(a)’s materials-in-commerce

 jurisdictional prong was an “unconstitutional exercise of the Commerce

 Clause power because the jurisdictional prong is too attenuated from the

 conduct sought to be regulated.” Id. at 84-85. Mr. Holston argued, as well



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 “that, even if facially valid, the statute was unconstitutional as applied to him

 because his conduct was not commercial and did not implicate interstate

 commerce because the depictions never crossed state lines.” Id. at 85.

       The Supreme Court in Lopez identified three broad categories of

 activity that Congress may regulate under its commerce power: (1) channels

 of interstate commerce; (2) instrumentalities of interstate commerce, or

 persons or things in interstate commerce; and (3) activities that “substantially

 affect” interstate commerce. Id. at 558–59. See also Taylor v. United States,

 579 U.S. 301, 306 (2016)(reaffirming the categories).

       Five years later, elaborating on Lopez, the Supreme Court in Morrison

 identified four factors to be considered in determining the existence of a

 “substantial effect” on commerce, whether: (1) the activity addressed is

 commercial or economic in nature; (2) the statute contains an express

 jurisdictional element involving interstate activity that might limit its reach;

 (3) Congress has made specific findings regarding the effects of the prohibited

 activity on interstate commerce; and (4) the link between the prohibited

 conduct and a substantial effect on interstate commerce is attenuated. See

 Morrison, 529 U.S. at 610–12.

       Concluding that it was at the third Lopez category at which the statute

 was directed, the Holston panel identified its task as to assess the



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 constitutionality of the materials-in-commerce prong by applying the

 Morrison factors to determine whether § 2251(a) regulates an activity that

 “substantially affects” interstate commerce. 343 F.3d at 88. See also Taylor

 579 U.S. at 306 (quoting Wickard v. Filburn, 317 U.S. 111, 125 (1942)(“We

 have held that activities in this third category—those that “substantially

 affect” commerce—may be regulated so long as they substantially affect

 interstate commerce in the aggregate, even if their individual impact on

 interstate commerce is minimal.”)). Concurring with Congress’ findings both

 that there is an extensive commercial market in child pornography and that

 much of the material that feeds it is produced by amateurs, the Second Circuit

 found the first factor—whether the activity targeted by the statute is

 commercial or economic in nature—satisfied. Holston, 343 F.3d at 88.

       Here, unlike the completed acts contemplated in Holston, it is a far from

 foregone conclusion that, in targeting attempts to induce a minor to engage in

 sexually explicit conduct in order to produce a picture of such conduct, that

 Congress sought to regulate “obviously economic activity.” Holston, 343 F.3d

 at 88 (citations omitted). Since attempts cannot be sold or traded, and by

 definition, bear no fungible fruit, there is no market for them.

       Further, unlike unsuccessful Hobbs Act robberies, violations of Section

 2251(e) have no predictable effect that Congress can seek to address



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  cumulatively. See e.g., Taylor, 579 U.S. at 304 (in first “attempted” Hobbs

  Act robbery, Taylor and the others broke into the home, searched it, assaulted

  both target and his girlfriend and left with jewelry, $40, two cell phones, and

  a marijuana cigarette, in the second, Taylor and others broke into target’s

  home, held his wife and young children at gunpoint, assaulted wife and made

  off with only a cell phone).

        Whether attempts to induce mere picture taking are “economic in

  nature” is a much closer call, and the evidence on the second Morrison factor

  isn’t availing. The Holston panel did conclude that the factor, whether the

  statute contains a jurisdictional element that might limit its application was,

  “at least superficially met.”     The Holston panel, however, questioned

  “whether the mere existence of jurisdictional language purporting to tie

  criminal conduct to interstate commerce can satisfactorily establish the

  required ‘substantial effect,’ where the interstate component underpinning the

  jurisdictional element occurs entirely locally.” 343 F.3d at 88.

        The Holston panel assessed not the first but the second jurisdictional

  prong, and embraced the Third Circuit’s observation that “[a]s a practical

  matter, the limiting jurisdictional factor is almost useless here, since all but

  the most self-sufficient child pornographers will rely on film, cameras, or




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  chemicals that traveled in interstate commerce.” Holston, 343 F.3d at 89

  (quoting United States v. Rodia, 194 F.3d 465, 473 (3d Cir.1999).

        Since the transmission of virtually all visual depictions in the internet

  age involves a means or facility of interstate commerce, the same

  observation—that the “limiting” jurisdictional factor is of essentially limitless

  reach—holds true of the first prong. Even were this Court to find it, failure

  on this second factor is not determinative. It can be cured by the Court’s

  independent determination that “the statute regulates activities that arise out

  of or are connected with a commercial transaction, which viewed in the

  aggregate, substantially affect interstate commerce.” Holston, 343 F.3d at 89

  (quoting Rancho Viejo, LLC v. Norton, 323 F.3d 1062, 1068 (D.C. Cir.

  2003)).

        As to the third factor, while it has now been almost 50 years since those

  findings were made, it still appears that “legislative findings documenting

  both the existence of an extensive national market in child pornography and

  that market’s reliance on the instrumentalities of interstate commerce” remain

  accurate. Holston, 343 F.3d at 89.

        It is the fourth and final Morrison factor—“whether the relationship

  between the regulated activity and a substantial effect on interstate commerce

  is attenuated”—that proves fatal to Section 2251(e). With respect to Section



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  2251(a), Holston had no quibble with Congress’ conclusion that there is an

  extensive interstate market in child pornography, the market’s existence

  depends on a distribution network that relies heavily on the instrumentalities

  of interstate commerce and, thus, it was beyond debate that “interstate

  trafficking in child pornography has an effect on interstate commerce that was

  well within Congress’s purview to regulate.”        Holston, 343 F.3d at 90

  (citations omitted).

        The Holston panel framed the critical question as whether it was

  rational for Congress to conclude “that it must reach local, intrastate conduct

  in order to effectively regulate a national interstate market.” Id. And, the

  panel found that, because much of the child pornography that concerned

  Congress is homegrown, untraceable, and enters the national market

  surreptitiously, Congress could, in its attempt to halt interstate trafficking,

  prohibit local production that feeds the national market and stimulates

  demand, as this production substantially affects interstate commerce. Id.

        It isn’t rational, however, for Congress to regulate a failed attempt to

  procure a picture. A single attempt can have no effect on interstate commerce

  and neither can all attempts considered in the aggregate. Congress’ aim to

  regulate attempts doesn’t make the attempts commercial. Congress can crack

  down on child pornography by restricting the regulation to completed acts.



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  Thus, Section 2251(e) fails the rational basis test. See Gonzales v. Raich, 545

  U.S. 1, 17 (2005)(arguing that Wickard permits Congress to regulate

  intrastate, noncommercial activity as long as it concludes that the failure to

  regulate that activity threatens its ability to effectively regulate the interstate

  market in that commodity).

                                      POINT II

  AS APPLIED TO MR. TERRANOVA WHOSE ATTEMPTS TO
  PROCURE PRURIENT PICTURES WERE INTRASTATE AND FOR
  PURELY PERSONAL NONCOMMERCIAL PURPOSES, SECTION
  2251(e) IS UNCONSTITUTIONAL

        Because the nexus to interstate commerce is determined not by the

  simple act for which an individual defendant is convicted but by the class of

  activities as a whole regulated by the statute, the government need not

  demonstrate a nexus to interstate commerce in every prosecution. United

  States v. Ramos, 685 F.3d 120, 134 (2d Cir. 2012); Holston, 343 F.3d at

  91; Proyect v. United States, 101 F.3d 11, 14 (2d Cir.1996) (per curiam)).

        Nevertheless, to survive constitutional scrutiny, a general regulatory

  statute must bear a substantial relation to commerce.               Because Mr.

  Terranova’s attempts were entirely intrastate, were intended to procure

  pictures for noncommercial reasons, and attempts—by definition—fail to

  produce any visual depictions, Section 2251(e) fails to bear even the most




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  tenuous relation to commerce and is unconstitutional as applied to him.

  Dated:      June 28, 2024
              New York, NY

                                              Respectfully submitted,

                                              Varghese & Associates, P.C.
                                                    /s/
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                                              Counsel for
                                              Mr. Christopher Terranova




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                             Table of Authorities

  Gonzales v. Raich, 545 U.S. 1 (2005)

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  United States v. Holston, 343 F.3d 83 (2d Cir. 2003)

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  United States v. Rodia, 194 F.3d 465 (3d Cir.1999)

  United States v. Smith, 459 F.3d 1276 (11th Cir. 2006)

  Wickard v. Filburn, 317 U.S. 111 (1942)

  18 U.S.C. § 2251(a), (e)




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